





                                                                    



IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN



                       




NO. 3-92-301-CR




JOHN HAYDEN McAULIFFE,



	APPELLANT


vs.





THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE COUNTY COURT AT LAW NO. 6 OF TRAVIS COUNTY,



NO. 352-552, HONORABLE DAVID PURYEAR, JUDGE


                       





PER CURIAM

	John Hayden McAuliffe pleaded no contest to an information accusing him of theft
of service having a value of $20 or more but less than $200.  Tex. Penal Code Ann. § 31.04
(Supp. 1992).  The trial court adjudged him guilty and assessed punishment at incarceration for
180 days and a $1000 fine.

	Before us is McAuliffe's motion for extension of time to file notice of appeal.  Such
a motion must be filed within fifteen days following the last day allowed for filing the notice of
appeal.  Tex. R. App. P. Ann. 41(b)(2) (Pamph. 1992).  Sentence in this cause was imposed on
February 21, 1992.  Because McAuliffe filed a motion for new trial that was overruled, the last
day for filing notice of appeal was May 21, 1992.  Rule 41(b)(1).  Appellant's motion for
extension of time was filed June 9, 1992, four days after the time for filing the motion expired.

	Appellant's motion for extension of time to file notice of appeal is overruled. 
Because no timely notice of appeal was filed in this cause, the appeal is dismissed.



[Before Chief Justice Carroll, Justices Aboussie and B. A. Smith]

Dismissed

Filed:  August 19, 1992

[Do Not Publish]


